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                                   I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                F O R T H E S O U T H E R N DI S T RI C T O F N E W Y O R K

 J A N E D O E 1, i n di vi d u all y a n d o n b e h alf of
 all ot h ers si mil arl y sit u at e d,

                                  Pl ai ntiff,

 v.                                                                    C as e N o. 2 2 -c v -1 0 0 1 9 (J S R)

 J P M O R G A N C H A S E B A N K, N. A. ,

                                  D ef e n d a nt.




                         D E C L A R A TI O N O F F E LI CI A H. E L L S W O R T H
          I N S U P P O R T O F J P M O R G A N C H A S E B A N K, N. A.’ S O P P O SI TI O N T O
                    P L AI N TI F F’ S M O TI O N F O R C L A S S C E R TI FI C A TI O N

P urs u a nt t o 2 8 U. S. C. § 1 7 4 6 , I, F eli ci a H. Ells w ort h, d e cl ar e u n d er p e n alt y of p erj ur y as

f oll o ws:

      1. I a m a m e m b er i n g o o d st a n di n g of t h e b ar of t h e C o m m o n w e alt h of M ass a c h us etts. I

           a m o n e of t h e att or n e ys r e pr es e nti n g D ef e n d a nt J P M or g a n C h as e B a n k, N. A.

           ( “J P M C ”) i n t h e a b o v e-c a pti o n e d a cti o n a n d h a v e b e e n a d mitt e d t o t his C o urt pr o h a c

           vi c e. I a m a P art n er wit h t h e l a w fir m of Wil m er C utl er Pi c k eri n g H al e a n d D orr

           L L P, 6 0 St at e Str e et , B ost o n, M ass a c h us etts 0 2 1 0 9. I a m f a mili ar wit h t h e f a cts s et

           f ort h h er ei n, a n d if c all e d as a wit n ess, I c o ul d a n d w o ul d c o m p et e ntl y t estif y t h er et o.

      2. Att a c h e d as E x hi bit 1 is a tr u e a n d c orr e ct c o p y of a pr ess r el e as e b y t h e E pst ei n

           Vi cti ms’ C o m p e ns ati o n Pr o gr a m ( “ E V C P ”) titl e d “ R e n o w n e d Cl ai ms R es ol uti o n

           E x p erts A n n o u n c e C o m m e n c e m e nt of t h e E pst ei n Vi cti ms’ C o m p e ns ati o n Pr o gr a m , ”

           d at e d J u n e 2 5, 2 0 2 0, a v ail a bl e at htt ps:// w w w. e pst ei n v c p. c o m/ d o c u m e nts/ 6 .

      3. Att a c h e d as E x hi bit 2 is a tr u e a n d c orr e ct c o p y of e x c er pts fr o m a b o o k b y Br a d l e y J.

           E d w ar ds titl e d “ R el e ntl ess P urs uit ” p u blis h e d i n 2 0 2 1.




                                                                   1
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4. Att a c h e d as E x hi bit 3 is a tr u e a n d c orr e ct c o p y of a n arti cl e titl e d “ A f e d er al c o urt

     j ust r el e as e d t h e s ettl e m e nt d e al b et w e e n E pst ei n a n d Gi uffr e, ” d at e d J a n u ar y 3, 2 0 2 2,

     a v ail a bl e at htt ps:// w w w. n pr. or g/ 2 0 2 2/ 0 1/ 0 3/ 1 0 6 9 8 8 7 0 0 1/j effr e y -e pst ei n -vir gi ni a -

     gi uffr e -s ettl e m e nt -d e al .

5. Att a c h e d a s E x hi bit 4 is a tr u e a n d c orr e ct c o p y of a D e p art m e nt of J usti c e Pr ess

     R el e as e d at e d J u n e 2 8, 2 0 2 2, a v ail a bl e at htt ps:// w w w.j usti c e. g o v/ us a o -

     s d n y/ pr/ g hisl ai n e -m a x w ell -s e nt e n c e d-2 0 -y e ars -pris o n -c o ns piri n g -j effr e y-e pst ei n -

     s e x u all y-a b us e .

6. Att a c h e d as E x hi bit 5 is a tr u e a n d c orr e ct c o p y of a D e p art m e nt of J usti c e Pr ess

     R el e as e d at e d J ul y 8, 2 0 1 9, a v ail a bl e at htt ps:// w w w.j usti c e. g o v/ us a o -s d n y/ pr/j effr e y -

     e pst ei n -c h ar g e d -m a n h att a n -f e d er al-c o urt -s e x-tr affi c ki n g-mi n ors .

7. Att a c h e d as E x hi bit 6 is a tr u e a n d c o rr e ct c o p y of t h e i n di ct m e nt fil e d J ul y 2, 2 0 1 9, i n

     U nit e d St at es v. E pst ei n , 1 9-c r-0 0 4 9 0 ( S. D. N. Y.).

8. Att a c h e d as E x hi bit 7 is a tr u e a n d c orr e ct c o p y of t h e s e c o n d s u p ers e di n g i n di ct m e nt

     fil e d M ar c h 2 9, 2 0 2 1, i n U nit e d St at es v. M a x w ell , 2 0-cr -0 0 3 3 0 ( S. D. N. Y.).

9. Att a c h e d as E x hi bit 8 is a tr u e a n d c orr e ct c o p y of t h e Fift h A m e n d e d C o m pl ai nt fil e d

     F e br u ar y 3 , 2 0 2 1, i n D o e 1 v. E pst ei n , 1 9-c v -0 7 6 7 5 ( S. D. N. Y.).

1 0. Att a c h e d as E x hi bit 9 is a tr u e a n d c orr e ct c o p y of t h e tr a ns cri pt of t h e J u n e 2 8, 2 0 2 2

     s e nt e n ci n g pr o c e e di n g i n U nit e d St at es v. M a x w ell , 2 0-cr -0 0 3 3 0 ( S. D. N. Y.).

1 1. Att a c h e d as E x hi bit 1 0 is a tr u e a n d c orr e ct c o p y of t h e First A m e n d e d C o m pl ai nt

     fil e d J a n u ar y 6, 2 0 2 0, i n K atl y n D o e v. I n d y k e , 1 9-c v -0 7 7 7 1 (S. D. N. Y. ).

1 2. Att a c h e d as E x hi bit 1 1 is a tr u e a n d c orr e ct c o p y of a list of l a ws uits fil e d a g ai nst

     J effr e y E pst ei n a n d r el at e d ass o ci at es a n d e ntiti es pr e p ar e d b y att or n e ys at

     Wil m er H al e.




                                                               2
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1 3. Att a c h e d as E x hi bit 1 2 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                           , d esi g n at e d c o nfi d e nti al p urs u a nt t o

     t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

1 4. Att a c h e d as E x hi bit 1 3 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                           , d esi g n at e d c o nfi d e nti al p urs u a nt t o

     t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

1 5. Att a c h e d as E x hi bit 1 4 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                           , d esi g nat e d c o nfi d e nti al p urs u a nt t o

     t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

1 6. Att a c h e d as E x hi bit 1 5 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                           , d esi g n at e d c o nfi d e nti al p urs u a nt t o

     t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

1 7. Att a c h e d as E x hi bit 1 6 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                           , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

     Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

1 8. Att a c h e d as E x hi bit 1 7 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                      , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

     Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n der s e al .

1 9. Att a c h e d as E x hi bit 1 8 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                      , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

     Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

2 0. Att a c h e d as E x hi bit 1 9 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                      , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

     Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.




                                                            3
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     2 1. Att a c h e d as E x hi bit 2 0 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                           , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

          Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

     2 2. Att a c h e d as E x hi bit 2 1 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                           , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

          Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al .

     2 3. Att a c h e d as E x hi bit 2 2 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                           , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

          Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al .

     2 4. Att a c h e d as E x hi bit 2 3 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                                                                      , d esi g n at e d

          c o nfi d e nti al p urs u a nt t o t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

     2 5. Att a c h e d as E x hi bit 2 4 is a tr u e a n d c orr e ct c o p y of E x hi bit 4 of t h e M ar c h 1 5, 2 0 2 3

          d e p ositi o n of M ar y Er d o es, d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e Pr ot e cti v e Or d er i n

          t his m att er a n d fil e d u n d er s e al.

     2 6. Att a c h e d as E x hi bit 2 5 is a tr u e a n d c orr e ct c o p y of e x c er pts of t h e tr a ns cri pt of t h e

          M ar c h 3, 2 0 2 3 d e p ositi o n of J a n e D o e 1, d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

          Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al. 1

     2 7. Att a c h e d as E x hi bit 2 6 is a tr u e a n d c orr e ct c o p y of e x c er pts of t h e tr a ns cri pt of t h e

          M a y 2, 2 0 2 3 d e p ositi o n of J or d a n a H . F el d m a n, t h e a d mi nistr at or of t h e E V C P ,

          d esi g n at e d hi g hl y c o nfi d e nti al att or n e ys’ e y es o nl y p urs u a nt t o t h e C o urt’s or d er o n

          M ar c h 2 4, 2 0 2 3 [ D kt. N o. 7 0], a n d fil e d u n d er s e al.




          1
             All pr o p er n a m es ot h er t h a n J effr e y E pst ei n’s ar e r e d a ct e d fr o m t h e s e al e d v ersi o n i n
or d er t o e ns ur e c o nfi d e nti alit y a n d pri v a c y of t h e vi cti ms .

                                                                  4
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2 8. Att a c h e d as E x hi bit 2 7 is a tr u e a n d c orr e ct c o p y of e x c er pts of t h e tr a ns cri pt of t h e

     A pril 2 7, 2 0 2 3 d e p ositi o n of Dr. Ki m b erl y M e hl m a n -Or o z c o , d esi g n at e d c o nfi d e nti al

     p urs u a nt t o t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

2 9. Att a c h e d as E x hi bit 2 8 is a tr u e a n d c orr e ct c o p y of e x c er pts of t h e tr a ns cri pt of t h e

     M a y 2, 2 0 2 3 d e p ositi o n of J a n e K h o d ar k o vs k y, d esi g n at e d c o nfi d e nti al p urs u a nt t o

     t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

3 0. Att a c h e d as E x hi bit 2 9 is a tr u e a n d c orr e ct c o p y of t h e E x p ert R e p ort of Dr. M att h e w

     W. N or m a n, d at e d A pril 1 3, 2 0 2 3, d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e Pr ot e cti v e

     Or d er i n t his m att er a n d fil e d u n d er s e al.

3 1. Att a c h e d as E x hi bit 3 0 is a tr u e a n d c orr e ct c o p y of t h e E x p ert R e p ort of J a n e

     K h o d ar k o vs k y, d at e d M ar c h 1, 2 0 2 3, d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

     Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

3 2. Att a c h e d as E x hi bit 3 1 is a tr u e a n d c orr e ct c o p y of t h e R e pl y E x p ert R e p ort of J a n e

     K h o d ar k o vs k y, d at e d A pril 2 4, 2 0 2 3, d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e

     Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

3 3. Att a c h e d as E x hi b it 3 2 is a tr u e a n d c orr e ct c o p y of t h e E x p ert R e p ort of Dr.

     Ki m b erl y M e hl m a n -Or o z c o, d at e d A pril 1 3, 2 0 2 3, d esi g n at e d c o nfi d e nti al p urs u a nt t o

     t h e Pr ot e cti v e Or d er i n t his m att er a n d fil e d u n d er s e al.

3 4. Att a c h e d as E x hi bit 3 3 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                 , d esi g n at e d hi g hl y c o nfi d e nti al att or n e ys’ e y es o nl y

     p urs u a nt t o t h e M ar c h 2 4 Or d er, a n d fil e d u n d er s e al.

3 5. Att a c h e d as E x hi bit 3 4 is a tr u e a n d c orr e ct c o p y of a d o c u m e nt

                                                 , d esi g n at e d c o nfi d e nti al p urs u a nt t o t h e Pr ot e cti v e

     Or d er i n t his m att er.




                                                              5
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     3 6. Att a c h e d as E x hi bit 3 5 is a tr u e a n d c orr e ct c o p y of

                                                                                                                   , d esi g n at e d

           hi g hl y c o nfi d e nti al att or n e ys’ e y es o nl y p urs u a nt t o t h e M ar c h 2 4 Or d er, a n d fil e d

           u n d er s e al. A c o urt es y el e ctr o ni c c o p y h as b e e n e m ail e d t o t h e C o urt.

           P urs u a nt t o 2 8 U. S. C. § 1 7 4 6, I d e cl ar e u n d er p e n alt y of p erj ur y t h at t h e f or e g oi n g is

tr u e a n d c orr e ct.

 D at e d: M a y 1 2 , 2 02 3                                          /s/ F eli ci a Ells w ort h
                                                                       F eli ci a H. Ells w ort h




                                                                   6
